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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                     04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                         Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                            DECISION AND ORDER

     On April 11, 2006, Defendant Aref filed a supplemental motion

seeking specific Brady material. See April 11, 2006 ltr. motion

[dkt. # 227] (“Supplemental Motion”). On June 9, 2006, the

Government responded to the Supplemental Motion by filing the

“Government’s Ex Parte, In Camera, Under Seal Letter Response

Regarding Defendant Aref’s April 11, 2006 Letter Request for

Discovery of Recorded Statements.” See June 12, 2006 Gov’t Notice

of Submission [dkt. # 237]. The Government represented that the

material contained in its response to Aref’s Supplemental Motion

was classified information impacting the national security of this

Country. See CIPA § 1 (defining “classified information” as “any

information or material that has been determined by the United


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States Government pursuant to an Executive order, statute, or

regulation, to require protection against unauthorized disclosure

for reasons of national security); Exec. Order No. 12,958 §

1.3(a)(1)-(3), 60 Fed. Reg. 19,825, 19,826 (Apr. 17, 1995); 28

C.F.R. § 17.21; see also United States v. Smith, 750 F.2d 1215,

1217 (4th Cir. 1984)(“[T]he government ... may determine what

information is classified. A defendant cannot challenge this

classification. A court cannot question it.”), rev'd on other

grounds on reh'g, 780 F.2d 1102 (4th Cir. 1985)(en banc); United

States v. Musa, 833 F. Supp. 752, 755 (E.D. Mo. 1993)(“The

determination whether to designate information as classified is a

matter committed to the executive branch.”).          The Government also

presented 2 proposed Orders, one that contained information deemed

classified by the Government (“classified Order”) and one that did

not (“non-classified Order”). The materials were submitted ex parte

and reviewed in camera, and the Court determined to sign the

proposed Orders. The non-classified Order was filed with the Clerk

and posted on the public docket. See June 12, 2006 Order [dkt. #

239].

     With regard to the materials submitted on June 9, 2006 that

contained classified information (including the proposed classified

Order that the Court signed), the Court finds that the Government’s

interest in protecting the national security and preventing the

dissemination of classified information outweighs the defendants’


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and/or the public’s right of access to these materials. See Globe

Newspaper Co. v. Superior Ct., 457 U.S. 596, 606-07 (1982)(First

Amendment right of access to court proceedings and documents may be

curtailed in favor of a compelling Governmental interest provided

that the limitation on access is "narrowly tailored to serve that

interest."); Press-Enterprise Co. v. Superior Ct., 464 U.S. 501,

510 (1984)("The presumption of openness may be overcome only by an

overriding interest based on findings that closure is essential to

preserve higher values and is narrowly tailored to serve that

interest."); Nixon v. Warner Communications, Inc., 435 U.S. 589,

598 (1978)(common law right of access may be outweighed by

important competing interests); see also Haig v. Agee, 453 U.S.

280, 307 (1981)("[N]o governmental interest is more compelling than

the security of the Nation."); Snepp v. United States, 444 U.S.

507, 509, n. 3 (1980)(per curiam)("The Government has a compelling

interest in protecting both the secrecy of information important to

our national security and the appearance of confidentiality so

essential to the effective operation of our foreign intelligence

service."); United States v. Moussaoui, 65 Fed. Appx. 881, 887,

2003 WL 21076836, at *3 (4th Cir. May 13, 2003)(unpublished

decision)(“[T]here can be no doubt that the Government's interest

in protecting the security of classified information is a

compelling one.”)(citing Dep't of Navy v. Egan, 484 U.S. 518, 527

(1988)); United States v. Al-Arian, 267 F. Supp.2d 1258, 1266-67


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(M.D. Fla. 2003)(“This Court cannot think of a more compelling or

substantial interest that the United States possesses than

protection of classified information.”). The Court further finds

that because the materials submitted on June 9, 2006, including the

proposed classified Order that the Court signed, were so limited in

scope and so interrelated with classified information, the filing

of redacted materials or a redacted classified Order that did not

divulge classified information would be impossible. No less

reasonable alternative to closure and sealing will protect the

Government’s interest in preventing the unauthorized dissemination

of this information, and this sealing order is drawn as narrowly as

possible under the circumstances.

     On April 20, 2006, the Government presented the Court with a

“Classified Letter” that constituted an update of materials

previously submitted in relation to the Government’s motion for a

protective order pursuant to the Classified Information Procedures

Act (“CIPA”) § 4 and Federal Rule of Criminal Procedure 16(d)(1).

See Notice of Submission of Classified Letter [dkt. # 230].             The

Government represented that all of the material contained in the

April 20, 2006 Classified Letter was classified information

impacting the national security of this Country.           The Classified

Letter was submitted ex parte and reviewed in camera.             As

indicated in the Court’s June 7, 2006 Decision and Order, the

Court disagreed with the Government’s argument and determined that


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the Government had to disclose the names from the “Rawah Notebook”

that had been declassified. See 6/7/06 Dec. & Ord. at pp. 3-4, 17-

18 [dkt. # 235]. The Government has complied with the Court’s

order. See Status Report [dkt. # 238].

     With regard to the materials submitted on April 20, 2006, and

in light of the Government’s representation that the materials

were classified, the Court finds that the Government’s interest in

protecting the national security and preventing the dissemination

of classified information outweighs the defendants’ and/or the

public’s right of access to these materials. See Globe Newspaper

Co., 457 U.S. at 606-07; Press-Enterprise Co., 464 U.S. at 510;

Nixon, 435 U.S. at 598; Haig, 453 U.S. at 307; Snepp, 444 U.S. at

509, n. 3; United States v. Moussaoui, 65 Fed. Appx. at 887, 2003

WL 21076836, at *3; United States v. Al-Arian, 267 F. Supp.2d at

1266-67.   The Court further finds that because the materials

submitted on April 20, 2006 were so limited in scope and so

interrelated with classified information, the filing of redacted

materials or a redacted Classified Letter that did not divulge

classified information would be impossible. No less reasonable

alternative to closure and sealing will protect the Government’s

interest in preventing the unauthorized dissemination of this

information, and this sealing order is drawn as narrowly as

possible under the circumstances.

     Therefore, the above referenced materials are and shall


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remain sealed until further order of this Court, and are placed in

the custody of the Court Security Officer for appropriate storage.

IT IS SO ORDERED.



DATED: July 6, 2006




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